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  IT IS ORDERED as set forth below:



  Date: October 14, 2020                           ___________________________
                                                          W. Homer Drake
                                                    U.S. Bankruptcy Court Judge

  _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  NEWNAN DIVISION

   IN RE:                                               :       CHAPTER 7
                                                        :
   FALCON AVIATION ACADEMY, LLC,                        :       CASE NO. 20-11240-WHD
                                                        :
            Debtor.                                     :

               ORDER APPROVING EMPLOYMENT OF ACCOUNTANTS

            On October 13, 2020, Griffin E. Howell, III, the Chapter 7 Trustee in the above-

   styled case (the “Trustee”), filed an application for approval of employment of Hays

   Financial Consulting, LLC (“Firm”) as accountants for Trustee [Doc. No. 12]. It appears

   that Firm is qualified to represent Trustee in this case and that they represent no interest

   adverse to the Debtor or Debtor’s estates in the matters upon which they are to be

   engaged, and that their employment is necessary and is in the best interests of the estate;

   accordingly, it is hereby

            ORDERED that pursuant to 11 U.S.C. § 327 and Bankruptcy Rule 2014, Trustee

   is hereby authorized to employ Hays Financial Consulting, LLC as accountants to
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   Trustee in this case for the purposes and terms specified in the Application For Approval

   of Employment of Hays Financial Consulting, LLC as Accountants for the Trustee for

   reasonable compensation and reimbursement of expenses as the Court may award under

   applicable law after notice and hearing based upon an application to be filed in the case.

   No payments or reimbursement of expenses shall be made to Firm without Court

   approval pursuant to applicable law.

          ORDERED that this Order is entered subject to written objection of the U.S.

   Trustee or any other party in interest within twenty-one (21) days from the date of entry

   of this Order. Any objection to this Order shall be served on the United States Trustee,

   Trustee, and counsel for Trustee. If an objection is timely filed, then Trustee shall

   schedule a hearing on the Application and such objection pursuant to the Court’s open

   Calendar Procedures, and shall provide notice of such hearing to the United States

   Trustee, Trustee, and the objecting party.

                                   [END OF DOCUMENT]


   Order prepared and presented by:

       /s/ Griffin E. Howell, III
    Griffin E. Howell, III
    Attorney for Trustee
    GA BAR NO. 372225
   Griffin E. Howell III & Associates, Ltd
   127 1/2 East Solomon Street
   PO Box 2271
   Griffin, GA 30224
   Ph: 770-227-4015
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   Identification of parties to be served:

   U.S. TRUSTEE
   Office of the U.S. Trustee
   362 Richard B. Russell Bldg.
   75 Ted Turner Drive, SW
   Atlanta, GA 30303

   CHAPTER 7 TRUSTEE
   Griffin E. Howell, III
   Griffin E. Howell III & Associates, Ltd
   127 1/2 East Solomon Street
   PO Box 2271
   Griffin, GA 30224

   DEBTOR’S ATTORNEY
   Matthew W. Levin
   Scroggins & Williamson, P.C.
   One Riverside, Suite 450
   4401 Northside Parkway
   Atlanta, GA 30327

   DEBTOR
   Falcon Aviation Academy, LLC
   95 E. Aviation Way
   Newnan, GA 30263

   ACCOUNTANT
   S. Gregory Hays
   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW
   Suite 555
   Atlanta, GA 30305
